Case 2:24-cv-08521-BRM-CLW   Document 1   Filed 08/18/24   Page 1 of 53 PageID: 1




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Case 2:24-cv-08521-BRM-CLW    Document 1    Filed 08/18/24   Page 2 of 53 PageID: 2




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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

  DAVID GONZALEZ,

                 Plaintiff,

        vs.                                CVIL CASE NO.:

                                                      Civil Action

                                              VERIFIED COMPLAINT & JURY
                                              DEMAND
  BAM TRADING SERVICES, INC., d/b/a
  BINANCE     US,    a     Delaware
  corporation; BINANCE HOLDINGS,
  LTD, d/b/a BINANCE, a foreign
  company; CHANGPENG ZHAO; JOHN
  DOES 1-100 (fictitious names);
  XYZ CORP, INC. 1-100 (fictitious
  names),
                    Defendants.
Case 2:24-cv-08521-BRM-CLW        Document 1   Filed 08/18/24    Page 3 of 53 PageID: 3




         Mr. David Gonzalez (hereinafter referred to as “Plaintiff”

 or    “Mr.    Gonzalez”),   of    101   Boulevard,    Apt      85K,   Township   of

 Pequannock, County of Morris, and State of New Jersey, by way of

 this Complaint (the “Complaint”) against Defendants, BAM Trading

 Services Inc. d/b/a Binance.US (“BAM” or “Binance.US”); Binance

 Holdings, Ltd. d/b/a Binance (“Binance”); CHANGPENG ZHAO; John

 Does (1-100); and XYZ Corp, Inc. (1-100), alleges, based upon

 personal knowledge as to himself and his own acts and experiences,

 and on information and belief as to all other matters based upon,

 inter alia, the investigation of counsel, as follows:

                                    INTRODUCTION

          1.    This is an action brought by a citizen of the State of

     New Jersey against the Miami, Florida-headquartered corporation

     BAM1 and its alter ego Binance, operating via online platforms

     internationally and throughout the United States, including the

     State of New Jersey, for converting, or in the alternative,

     knowingly aiding and abetting the conversion of, Plaintiff’s

     digital assets by not complying with Know Your Customer (“KYC”)

     and Anti-Money Laundering (“AML”) controls, policies, and rules,

     after Plaintiff’s digital        assets   were    stolen      and   laundered

     through Binance’s accounts.         In addition, Defendants unjustly




 1   https://www.binance.us/terms-of-use (last accessed July 29, 2024).

                                          2
Case 2:24-cv-08521-BRM-CLW                   Document 1          Filed 08/18/24          Page 4 of 53 PageID: 4



     enriched         themselves            by       collecting             significant              fees           on

     transactions involving Plaintiff’s stolen cryptocurrency.

           2.       This action arises from Binance acting as depository

     for cryptocurrency (digital assets) stolen from U.S. citizens,

     including Plaintiff, who had cryptocurrency including, but not

     limited to, Shiba Inu (SHIB), Hokkaidu Inu (HOKK), Kishu Inu

     (KISHU), Akita Inu (Akita), FEG Token (FEG), Hydro (HYDRO), Paid

     Network,       DigiCol         Token,        and        many     others,         stolen        from       his

     cryptocurrency                  wallet               bearing                digital                address

     0x0E6eC53Eb9742b98a865571bd25e3c6daA4c8Dac (“Dac”).

           3.       Binance’s role as a depository is similar to that of a

     bank,      but     also       different            in     that       the       chain-of-title                  of

     cryptocurrency is permanently and accurately traceable on the

     blockchain, which acts as a public “ledger.”

           4.       That is why Plaintiff was able to determine, following

     a thorough investigation tracing the block chain, that a hacker

     had deposited his crypto currency with Defendants.2

           5.       For over one (1) year to date, Plaintiff has been

     making numerous demands that Defendants return his cryptocurrency

     to no avail.

           6.       Plaintiff brings this lawsuit to recover the highest

     value of the stolen cryptocurrency, for compensatory and punitive



 2
  See a true and accurate copy of Plaintiff’s blockchain ledgers and proof of his deposit of funds from his Chase
 bank account into Coiinbase annexed hereto as “Exhibit A.”

                                                          3
Case 2:24-cv-08521-BRM-CLW     Document 1          Filed 08/18/24   Page 5 of 53 PageID: 5



  damages, and for restitution and disgorgement of Defendants’ ill-

  gotten gains of fees collected on transactions involving stolen

  cryptocurrency.

                                     THE PARTIES

        7.    Plaintiff, David Gonzalez, is an individual residing

  at: 101 Boulevard Apt 85K, Pequannock, NJ 07440. At all relevant

  times, Mr. Gonzalez was a Coinbase user and customer. On or about

  May 8, 2021, at least 41,881,332,772 units of Shiba Inu (SHIB),

  90,934,964,476,560.50         units         of       Hokkaidu       Inu     (HOKK),

  6,677,846,866,673.65          units         of        Kishu       Inu      (KISHU),

  1,985,208,578.34           units       of           Akita         Inu      (AKITA),

  1,382,788,310,243.34 units of FEG Token (FEG), 53,436.64 units

  of Hydro (HYDRO), 123.3706939 units of Paid Network, 578.2658609

  units of DigiCol Token, and other cryptocurrencies were stolen

  from Plaintiff’s Coinbase account. In the days, weeks, months

  and years thereafter, Binance allowed the stolen units of various

  cryptocurrencies to be deposited in Binance accounts in exchange

  for which Binance earned transactions fees without applying KYC

  and   AML   procedures       to     detect        lawful      ownership     of   the

  cryptocurrency. Between May 8, 2021 and the date of this filing,

  the total value of the cryptocurrencies portfolio stolen from

  Plaintiff fluctuated, but is believed to have been valued, at

  the portfolio’s high at approximately $30,000,000.00.

        8.    BAM   is   a    Delaware-organized           corporation      with   its

                                          4
Case 2:24-cv-08521-BRM-CLW          Document 1        Filed 08/18/24    Page 6 of 53 PageID: 6



     current headquarters and principal place of business in Miami,

     Florida. It is wholly owned by BAM Management U.S. Holdings Inc.,

     which is 81 percent owned by the founder of Binance, Changpeng

     Zhao (“CZ”).3 Today, the BAM platform is available in 46 U.S.

     states,     including    the    State       of     New    Jersey,        and    8   U.S.

     territories; is one of the top five crypto asset trading platforms

     in the United States by trading volume.

          9.     Binance is a foreign company which, upon information

     and belief is registered and headquartered with its principal

     place of business in the Cayman Islands, though it professes to

     not have a principal executive office.4

          10.    Changpeng Zhao (“CZ”), is the beneficial owner of a

     number of entities subordinate to or affiliated with Binance, in

     multiple     jurisdictions,       has       been     publicly       dismissive        of

     “traditional mentalities” about corporate formalities and their

     attendant     regulatory        requirement.5            CZ    claims          Binance’s

     headquarters is “wherever [he] sit[s]” and “wherever [he] meet[s]

     somebody.”6 According to CZ, the concept of a formal corporate

     entity     with   a   headquarters      and        its   own      bank    account    is

     unnecessary: “All of those things doesn’t have to exist for


 3 SEC v. Binance, Case No. 1:23-cv-01599 (D.D.C.), D.E. 1, Compl. (June 5,
 2023) (hereinafter “SEC Compl.”) ¶¶ 28-29.
 4 Paddy Baker, Binance Doesn’t Have a Headquarters Because Bitcoin Doesn’t,

 Says CEO, COINDESK (May 8, 2020), https://www.coindesk.com/binance-doesnt-
 have-a-headquarters-because-bitcoin-doesnt- says-ceo.
 5 SEC Compl. ¶ 27.
 6 Id.



                                             5
Case 2:24-cv-08521-BRM-CLW       Document 1    Filed 08/18/24   Page 7 of 53 PageID: 7



     blockchain companies.”7 However, billions of dollars from Binance

     flowed through dozens of Binance- and CZ-owned U.S.-based bank

     accounts.8

          11.     Defendants BAM and Binance are digital currency wallet

     and money transmitter services platforms at which merchants and

     consumers exchange digital currencies like SHIB, HOKK, KISHU,

     AKITA, FEG, HYDRO, Paid Network, DigiCol Token, and others.

          12.     Binance was founded in 2017 and allowed customers,

     including those in the United States, to make risky, highly

     leveraged bets on cryptocurrency prices that were and are illegal

     in the United States—currently offering trading in over 350

     crypto assets. In early 2023, Binance was several times the size

     of cryptocurrency exchange FTX at its peak, processing tens of

     billions of dollars in trades each day.9 As of April 26, 2023,

     despite customer withdrawals due to regulatory scrutiny, Binance

     had an estimated $66.5 billion worth of customer holdings.10

     “About two-thirds of all crypto trades take place on Binance’s

     platform, according to CCData, a data analysis firm.”11

          13.     Though   Binance   catered   to   U.S.   customer     from   its

     outset, BAM was founded in 2019 purportedly to offer a solution

 7  Id.
 8  Id.
 9   David Yaffe-Bellany, Emily Flitter & Matthew Goldstein, Binance Faces
 Mounting Pressure as U.S. Crypto Crackdown Intensifies, NEW
   YORK TIMES, Apr. 26, 2023,
   https://www.nytimes.com/2023/04/26/technology/binance-crypto-crackdown.html.
 10 Id.
 11 Id.



                                         6
Case 2:24-cv-08521-BRM-CLW     Document 1     Filed 08/18/24    Page 8 of 53 PageID: 8



  for U.S. customers compliant with U.S. regulations.                     However,

  Binance remains highly popular with U.S. customers, who can

  access it using technology called a Virtual Private Network

  (“VPN”) that makes it seem like the customer’s IP address is

  associated     with    another   country.       According       to    the    U.S.

  Commodities Futures Trading Commission in its filed Complaint

  for Injunctive and Other Equitable Relief and Civil Monetary

  Penalties    Under    the   Commodity     Exchange    Act    and     Commissions

  Regulations     against     Binance       and   related      entities       (“CFTC

  Complaint”), much of Binance’s reported trading volume, and its

  profitability, has come from its extensive solicitation of and

  access to customers located in the United States, including, of

  course, the State of New Jersey.12

        14.    At all relevant times, and in connection with the

  matters alleged herein, Defendants were controlled and majority-

  owned13 by the same person—founder CZ, “a Chinese-born Canadian

  citizen [who] most recently has been reported largely splitting

  his time between Dubai and Paris”14 - — and constitute a single

  enterprise with unity of interest. CZ has been an officer and

  director of BAM and Binance at all relevant times.                       Between



 12 CFTC v. Zhao et al., Civil Action No.: 1:23-cv-01887 (N.D. Ill. Mar. 27,
 2023), D.E. 1.
 13 Aidan Ryan, The People with Power at Binance and Binance.US, THE

 INFORMATION, Mar. 17, 2023, https://www.theinformation.com/articles/the-
 people-with-power-at-binance-and-binance-us.
 14 See supra n.3.



                                        7
Case 2:24-cv-08521-BRM-CLW      Document 1       Filed 08/18/24   Page 9 of 53 PageID: 9



  October 2022 and January 2023, CZ personally received $62.5

  million from one of the Binance bank accounts.15

          15.    According to the SEC Compl., which regards the sale of

  unregistered securities on Defendants’ platforms, the ownership

  structure of Defendants, their platforms, and related entities

  can be visualized as follows:




          16.    At all relevant times, and in connection with the

  matters       alleged   herein,   each       Defendant   acted    as   an   agent,

  servant, partner, joint venturer, and/or alter ego of the other,



 15   SEC Compl. ¶ 30.


                                           8
Case 2:24-cv-08521-BRM-CLW    Document 1   Filed 08/18/24   Page 10 of 53 PageID: 10



   and acted in the course and scope of such agency, partnership,

   and relationship and/or in furtherance of such joint venture.

   Each Defendant acted with the knowledge and consent of the other

   Defendant and/or directed, authorized, affirmed, consented to,

   ratified, encouraged, approved, adopted, and/or participated in

   the acts or transactions of the other Defendants as described

   herein. Recognition of the privilege of separate existence under

   such circumstances would promote injustice, as described below.

        17.   Defendants XYZ CORP. INC. (1-100) and JOHN DOES (1-

   100) are fictitious parties who conspired to engage in a common

   scheme to enable cryptocurrency hackers and thieves to launder

   cryptocurrency through the Binance ecosystem without providing

   valid or sufficient personal identification and proof of lawful

   possession of the cryptocurrency, as well as an unknown “Hacker”

   who owns, maintains and operates a digital cryptocurrency account

   identified     as    “0x95f0d3169e8734f300a91Bce591f543F246485Fa”

   (”Alleged Hacker Account”).

                             JURISDICTION & VENUE

        18.   Plaintiff, David Gonzalez, is an individual residing

   at: 101 Boulevard Apt 85K, Pequannock, NJ 07440. At all relevant

   times, Mr. Gonzalez was a Coinbase user and customer.

        19.   General Jurisdiction is appropriate as to Defendants,

   which operate globally to provide a trading platform website for

   the theft and laundering of cryptocurrencies for profit. See

                                       9
Case 2:24-cv-08521-BRM-CLW    Document 1        Filed 08/18/24   Page 11 of 53 PageID: 11



   Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

   408, 414, 104 S. Ct. 1868, 80 L. Ed. 2d 404 (1984); Baanyan

   Software Servs., Inc. v. Kuncha, 433 N.J. Super. 466, 474 (App.

   Div. 2013).

         20.   The Court also has general personal jurisdiction over

   Binance because, as an alter ego of BAM, it would be inequitable

   under the circumstances to recognize Binance’s existence as a

   separate entity.

   BAM and Binance are Alter Egos

         21.   Plaintiff     is     informed       and    believes,      based    on

   information    available    in    the    public     domain, that BAM’s and

   Binance’s operations are both controlled entirely by CZ, and the

   entities’ operations and funds are comingled to such an extent

   that it would be inequitable to recognize their existence as

   separate entities.

         22.   Binance created BAM in 2019 “as a de facto subsidiary

   in order to draw the scrutiny of U.S. regulators away from the

   global exchange.”16

         23.   On October 29, 2020, Forbes broke the story about BAM’s

   real purpose:

         The 2018 document details plans for a yet-unnamed U.S.
         company dubbed the “Tai Chi entity,” in an allusion to

  16 Angus Berwick & Tom Wilson, Exclusive: Crypto giant Biannce moved $400
  million from U.S. partner to firm managed by CEO Zhao, REUTERS, Feb. 16, 2023,
  https://www.reuters.com/technology/crypto-    giant-binance-moved-400-million-
  us-partner-firm-managed-by-ceo-zhao-2023-02-16/.


                                           10
Case 2:24-cv-08521-BRM-CLW    Document 1     Filed 08/18/24   Page 12 of 53 PageID: 12



            the Chinese martial art whose approach is built around
            the principle of “yield and overcome,” or using an
            opponent’s own weight against him. While Binance
            appears to have gone out of its way to submit to U.S.
            regulations by establishing a compliant subsidiary,
            Binance.US, an ulterior motive is now apparent. Unlike
            its creator Binance, Binance.US, which is open to
            American investors, does not allow highly leveraged
            crypto-derivatives trading, which is regulated in the
            U.S.

            The leaked Tai Chi document, a slideshow believed to
            have been seen by senior Binance executives, is a
            strategic plan to execute a bait and switch. While the
            then- unnamed entity set up operations in the United
            States to distract regulators with feigned interest in
            compliance, measures would be put in place to move
            revenue in the form of licensing fees and more to the
            parent company, Binance. All the while, potential
            customers would be taught how to evade geographic
            restrictions while technological work-arounds were put
            in place.17

           24.   According to the CFTC Complaint, “Binance personnel,

   including [CZ], have dictated [BAM’s] corporate strategy, launch,

   and early operations. At [CZ’s] direction, [BAM’s] marketing and

   branding has mirrored that of Binance.com. [BAM] has licensed

   Binance’s trademarks to advertise in the United States. [BAM] has

   also relied on one of Binance’s matching engines through a

   software licensing agreement.”18

           25.   It was reported that in the first three months of 2021,


  17Michael del Castillo, Leaked “Tai Chi” Document Reveals Binance’s Scheme to
  Evade      Bitcoin      Regulators,      FORBES,      Oct.     29,      2020,
  https://www.forbes.com/sites/michaeldelcastillo/2020/10/29/leaked-   tai-chi-
  document-reveals-binances-elaborate-scheme-to-evade-bitcoin-
  regulators/?sh=1a6e28472a92.


  18   CFTC Compl. ¶ 81.
  +

                                        11
Case 2:24-cv-08521-BRM-CLW      Document 1    Filed 08/18/24   Page 13 of 53 PageID: 13



   Binance transferred more than $400 million from BAM to a trading

   firm managed by CZ (Merit Peak Ltd.), some of which was later

   sent to the Silvergate Bank account of a Seychelles-incorporated

   firm called Key Vision Development Limited, which is another

   entity controlled by CZ:

        The transfers to Merit Peak took place on the bank's
        proprietary Silvergate Exchange Network (SEN), which
        Binance.US joined in November 2020 to serve its
        corporate clients. SEN allows these clients to transfer
        dollars   between   their   accounts   at   the   bank.
        Silvergate’s investor prospectus says SEN transfers are
        “push only,” which means they must be authorized by the
        account's controller.19

         26.   Susan Li, a Binance finance executive, had full access

   to the BAM account at California-based Silvergate Bank,20 which

   in May 2023 shut down operations and liquidated its assets.21

         27.   On   June   5,    2023,   Reuters      reported     that   Binance

   executive Guangyin Chen was authorized by Silvergate Bank to

   operate five bank accounts belonging to BAM: “Employees at the

   affiliate, [BAM], had to ask Chen’s team to process payments,

   even to cover the firm’s payroll, company messages show.”22

         28.   Binance makes clear in the “Binance Terms of Use” that


  19 Id.
  20 Id.
  21 MacKenzie Sigalos, Crypto-focused bank Silvergate is shutting operations

  and liquidating after market meltdown, CNBC,
  https://www.cnbc.com/2023/03/08/silvergate-shutting-down-operations-and-
  liquidating-bank.html (last visited June 5, 2023).
  22 Angus Berwick & Tom Wilson, Exclusive: Crypto giant Binance controlled

  “independent”      U.S.      affiliate’s      bank     accounts,      REUTERS,
  https://www.reuters.com/technology/crypto-giant-binance-controlled-
  independent-us-affiliates-bank-accounts-2023-06-05/ (last visited June 5,
  2023).

                                         12
Case 2:24-cv-08521-BRM-CLW         Document 1    Filed 08/18/24   Page 14 of 53 PageID: 14



   its users must agree to what it considers its fiat gateways,

   including      BAM,   to   be    part   of    the   “ecosystem”    that   defines

   “Binance.” After expressly defining “Binance” to include “fiat

   gateways” the Terms of Use also explain that the fiat gateways

   are part of the services Binance provides:

          Binance Services refer to various services provided to
           you by Binance that are based on Internet and/or
           blockchain technologies and offered via Binance
           websites, mobile applications, clients and other forms
           (including new ones enabled by future technological
           development). Binance Services include but are not
           limited to such Binance ecosystem components as Digital
           Asset Trading Platforms, the financing sector, Binance
           Labs, Binance Academy, Binance Charity, Binance Info,
           Binance Launchpad, Binance Research, Binance Chain,
           Binance X, Binance Fiat Gateway, existing services
           offered by Trust Wallet and novel services to be
           provided by Binance. In short, Binance’s Terms of Use
           inform consumers that a “Binance Fiat Gateway”—one of
           which is BAM—is a service provided by Binance.23

           29.   The CFTC Complaint elaborates on this strategy:

           Binance’s corporate organizational chart includes over
           120 entities incorporated in numerous jurisdictions
           around the world. At times, at least certain of those
           entities, including Binance Holdings, Binance IE, and
           Binance Services have commingled funds, relied on
           shared technical infrastructure, and engaged in
           activities to collectively advertise and promote the
           Binance brand.

           Binance’s reliance on a maze of corporate entities to
           operate the Binance platform is deliberate; it is
           designed to obscure the ownership, control, and
           location of the Binance platform . . .

           Binance is so effective at obfuscating its location and
           the identities of its operating companies that it has
           even confused its own Chief Strategy Officer. For

  23   https://www.binance.com/en/terms (last visited June 5, 2023).

                                            13
Case 2:24-cv-08521-BRM-CLW       Document 1      Filed 08/18/24   Page 15 of 53 PageID: 15



           example, in September 2022 he was quoted as saying that
           “Binance is a Canadian company.” The Chief Strategy
           Officer’s statement was quickly corrected by a Binance
           spokesperson, who clarified that Binance is an
           “international company.”24

           30.     Binance does not observe corporate formalities. It has

   no board of directors but is controlled entirely by Defendant

   CZ. See CFTC Compl. ¶ 103 (“As part of [an] audit, the Binance

   employee who held the title of Money Laundering Reporting Officer

   (“MLRO”) lamented that she ‘need[ed] to write a fake annual MLRO

   report to Binance board of directors wtf.’ [Chief Compliance

   Officer Samuel] Lim, who was aware that Binance did not have a

   board of directors, nevertheless assured her, ‘yea its fine I

   can get mgmt. to sign’ off on the fake report.”).

           31.     It is the same individual, CZ, who manages all aspects

   of both Defendants’ operations. See, e.g., CFTC Compl. ¶¶ 85-87

   (“Zhao is ultimately responsible for evaluating the legal and

   regulatory risks associated with Binance’s business activities,

   including those related to the launch of [BAM].”).

           32.     Defendant CZ micromanages all aspects of Defendants’

   operations.          For example, in January 2021, a month in which

   Binance earned          over $700     million    in   revenue,    CZ   personally

   approved        an    approximately    $60      expense   related      to   office

   furniture.25 Moreover, Defendant CZ’s approval was required for


  24   CFTC Compl. ¶¶ 82-84.
  25   Id. ¶ 85.

                                            14
Case 2:24-cv-08521-BRM-CLW      Document 1        Filed 08/18/24    Page 16 of 53 PageID: 16



   all BAM expenditures over $30,000 through at least January 30,

   2020.26 BAM regularly sought approval from Defendant CZ and Binance

   concerning     routine      business      expenditures           including     rent,

   franchise taxes, legal expenses, Amazon Web Services fees to

   host BAM customer data, and even an $11,000 purchase of Binance-

   branded hooded sweatshirts.27

         33.    BAM “employees referred to [CZ’s] and Binance’s control

   of [BAM’s] operations as ‘shackles’ that often prevented [BAM]

   employees from understanding and freely conducting the business

   of running and operating the Binance.US Platform—so much so that,

   by November 2020, [BAM’s] then-CEO told Binance’s CEO that her

   ‘entire     team   feels   like    [it   had]      been   duped       into   being   a

   puppet.’”28

         34.    The   same    day    the    BAM    platform        was   announced,     a

   consultant for Binance provided Binance with internal guidelines

   advising that: “On the US launch, it is important to NOT link it

   to the .COM IP blocking [of U.S. investors]. That would suggest

   both that Binance is aware of previous violation and that BAM

   and .COM are alter egos of each other coordinating the work.”29

         35.    Defendant CZ was involved in the hiring of BAM’s first

   CEO, who reported to and was directed by Defendant CZ and the



  26 SEC Compl. ¶ 170.
  27 Id.
  28 Id. ¶ 7.
  29 Id. ¶ 153.



                                            15
Case 2:24-cv-08521-BRM-CLW    Document 1      Filed 08/18/24   Page 17 of 53 PageID: 17



   Binance CFO throughout her tenure from June 2019 through about

   March 2021.30 She referred to Binance as the “mothership” and

   provided weekly updates to Defendant CZ and Binance concerning

   BAM’s operations.31

          36.   At least for a significant period of time after BAM

   launched, Binance held and controlled BAM data offshore, and at

   least for much of 2021, BAM employees could not obtain certain

   real-time trading data for the BAM platform without CZ’s personal

   approval.32

          37.   BAM’s second CEO testified to SEC staff that the “level

   of . . . connection” between Binance and BAM was a “problem” and

   that   he    had   concluded   that    BAM    “need[ed]     to   migrate    the

   technology to full [BAM] control.”33 As of at least BAM’s second

   CEO’s resignation in August 2021, no such transfer of control

   had happened.34

          38.   Binance required that CZ and/or the Binance Back Office

   Manager had signatory authority over BAM bank accounts.35 Until

   at least December 2020, the Binance Back Office Manager was a

   signatory of BAM’s bank accounts.36 Until at least July 2021, she

   was also a signatory on BAM Trading Trust Company B accounts that


  30 Id. ¶ 150.
  31 Id. ¶ 154.
  32 Id. ¶ 158.
  33 Id. ¶ 160.
  34 Id.
  35 See id. ¶¶ 165-69.
  36
     Id

                                         16
Case 2:24-cv-08521-BRM-CLW     Document 1      Filed 08/18/24    Page 18 of 53 PageID: 18



   contained BAM customers’ fiat deposits.37

          39.     Binance’s   finance   team     managed        payment    of   BAM’s

   expenses, including by executing money transfers between bank

   accounts and depositing cash injections from Merit Peak when BAM

   operating funds were low.38 Binance’s finance team was even able

   to make substantial        fund   transfers      without      BAM’s    knowledge,

   including in June 2020 as to billions of dollars in BAM’s own

   accounts.39

          40.     In addition, at least through December 2022, Binance

   was the designated custodian for crypto assets deposited, held,

   traded, and/or accrued on BAM, and could authorize transfer of

   crypto assets, including between various omnibus wallets, without

   then need for any authorization from BAM.40

          41.     As of May 2023, CZ still had signatory authority over

   BAM’s account that held BAM’s customers’ funds.41

   Defendants Solicit U.S. Citizens and Promote the Use of a VPN
   for U.S. Citizens Unlawfully Use Binance

          42.     As of the date of this filing, Binance’s largest single

   market has usually been the United States.

          43.     “The monthly [internal] revenue report for September

   2020   reflects     that   2.51   million     customers       were     located   in



  37 Id.
  38 Id. ¶ 171.
  39 Id. ¶ 172.
  40 Id. ¶ 175.
  41 Id. ¶ 174.



                                        17
Case 2:24-cv-08521-BRM-CLW      Document 1        Filed 08/18/24   Page 19 of 53 PageID: 19



   ‘U.S.’”42 Starting in October 2020, Binance’s internal reports

   instead identified the bulk of those users (2.38 million) as

   “UNKNOWN,” a category that in the previous month totaled 0.31

   million “unknown” users.43

         44.   Defendants       continue     to     advertise      to   and   solicit

   customers in the United States and New Jersey. According to the

   CFTC Complaint, Defendants have increasingly relied on personnel

   and   vendors    in    the   United     States      and    actively    cultivated

   lucrative and commercially important “VIP” customers, including

   institutional customers, located in the United States:

         [A]ccording to Binance’s own documents for the month of
          August 2020 the platform    earned   $63   million   in
          fees     from     derivatives      transactions     and
          approximately 16% of its accounts were held by
          customers Binance identified as being located in the
          United States. By May 2021, Binance’s monthly revenue
          earned from derivatives transactions increased to $1.14
          billion. Binance’s decision to prioritize commercial
          success over compliance with U.S. law has been, as Lim
          paraphrased Zhao’s position on the matter, a “biz
          decision.”44

         45.   While Binance publicly claims it does not permit United

   States-based customers to use its services (rather than BAM’s

   services)—something it purports to monitor by tracking the geo-

   location of the IP Address used by the customer to login to

   Binance—that supposed barrier is easily overcome through methods

   of which Binance is well aware and which Binance tacitly permits.


  42 CFTC Compl. ¶ 138.
   43 Id. ¶¶ 138-39.
  44 Id. ¶ 4.



                                           18
Case 2:24-cv-08521-BRM-CLW   Document 1   Filed 08/18/24   Page 20 of 53 PageID: 20



        46.   To evade geo-location tracking monitors, a customer

   need only use a VPN that “spoofs” the user’s actual location.

   Instead of marking his or her IP Address with a location in the

   United States, the Binance user employs a VPN so that Binance’s

   records will reflect that the user is logging in from a non-U.S.

   territory that is supported by Binance.

        47.   One such VPN, specifically promoted by Binance, is

   PureVPN, which describes the simple process thusly:




        48.   As PureVPN explains, as long as the location the user

   choose through his/her VPN is a non-U.S. country supported by

   Binance, the user’s log-in to Binance will proceed unfettered:




                                     19
Case 2:24-cv-08521-BRM-CLW     Document 1      Filed 08/18/24   Page 21 of 53 PageID: 21




          49.   At least as early as April 2019, Binance published a

   guide on the “Binance Academy” section of its website called “A

   Beginner’s Guide to VPNs,” which hinted that “you might want to

   use a VPN to unlock sites that are restricted in your country.”

          50.   It has long been known that Binance has full knowledge

   that    U.S.-based   users,     including      those     based    within    this

   jurisdiction, utilize VPN services to access Binance despite the

   existence    of   BAM.    The   CFTC   Complaint      has    provided   copious

   evidence this was an explicit strategy orchestrated by Binance:

          Binance’s   corporate   communications  strategy   has
          attempted to publicly portray that Binance has not
          targeted the United States at the same time Binance
          executives acknowledge behind closed doors that the
          opposite is true. For example, on June 9, 2019, around
          the time Zhao and Binance hatched their secret plot to

                                          20
Case 2:24-cv-08521-BRM-CLW        Document 1   Filed 08/18/24   Page 22 of 53 PageID: 22



           retain U.S. customers even after the launch of
           Binance.US, Binance’s Chief Financial Officer stated
           during a meeting with senior management including Zhao:

                 [S]ort of, the messaging, I think would develop
                 it as we go along is rather than saying we’re
                 blocking the US, is that we’re preparing to
                 launch Binance US. So, we would never admit it
                 publicly or privately anywhere that we serve US
                 customers in the first place because we don’t.
                 So, it just so happens we have a website and
                 people sign up and we have no control over
                 [access by U.S. customers]        [B]ut we will
                 never admit that we openly serve US clients.
                 That’s why the PR messaging piece is very, very
                 critical.

           Zhao agreed that Binance’s “PR messaging” was critical,
           explaining in a meeting the next day that “we need to,
           we need to finesse the message a little bit         And
           the message is never about Binance blocking US users,
           because our public stance is we never had any US users.
           So, we never targeted the US. We never had US users.”
           But during the June 9, 2019 meeting, Zhao himself stated
           that “20% to 30% of our traffic comes from the US,” and
           Binance’s “July [2019 Financial] Reporting Package,”
           which was emailed directly to Zhao, attributes
           approximately 22% of Binance’s revenue for June 2019
           to U.S. customers.
           . . .
           In a March 2019 chat, Lim explained to his colleagues
           that “CZ wants people to have a way to know how to vpn
           to use [a Binance functionality] . . . it’s a biz
           decision.” And in an April 2019 conversation between
           Binance’s Chief Financial Officer and Lim regarding
           Zhao’s reaction to controls that purported to block
           customers attempting to access Binance from U.S.-based
           IP addresses, Lim said: “We are actually pretty
           explicit about [encouraged VPN use] already – even got
           a fking guide. Hence CZ is ok with blocking even usa.”45

           51.   As the Binance COO explained, “[o]n the surface we

   cannot be seen to have U.S. users but in reality we should get


  45   CFTC Compl. ¶¶ 107, 118.

                                          21
Case 2:24-cv-08521-BRM-CLW    Document 1     Filed 08/18/24   Page 23 of 53 PageID: 23



   them through other creative means.”46

         52.    In short, Defendants use the superficially separate

   corporate form of BAM to foster the appearance of compliance with

   U.S. regulations, all the while encouraging U.S. citizens’ stealth

   use of the unregulated Binance via VPNs. Thus, this Court has

   general jurisdiction over Binance.

         53.    Venue is appropriate under 4:3-2(a)(3) because Mr.

   Gonzalez is a resident of Bergen County, New Jersey, where the

   cause of action arose.

                 STATEMENT OF FACTS RELEVANT TO ALL COUNTS

   Binance Profits from Intentionally Nonexistent or Inadequate
   KYC and AML Protocols


         54.    Since its founding, Binance has grown at an enormous

   rate.   In October 2019, a cryptocurrency industry publication

   reported Binance had crossed the $1 billion profit threshold. In

   2022, Binance’s revenue was approximately $12 billion, a ten-

   times growth over the preceding two years.47

         55.    Binance’s profits are derived in largest part48 from

   the   fees   Binance   receives    for    transactions     on   the   Binance

   exchange, including trades in which stolen cryptocurrency is

   exchanged for other cryptocurrency or fiat currency, and in part


  46 Id. ¶ 120.
  47 https://www.binance.com/en/feed/post/157884 (last visited June 5, 2023).
  48 CFTC Compl. ¶ 45 (“In a December 2022 interview, Zhao estimated that

  transaction revenue accounts for approximately 90 percent of Binance’s
  revenue.”).

                                        22
Case 2:24-cv-08521-BRM-CLW        Document 1       Filed 08/18/24    Page 24 of 53 PageID: 24



   from the frequency and volume of trading that helps enhance and

   maintain the liquidity that is essential to an efficient and

   profitable        exchange.    In   other      words,     Binance    has   a   strong

   monetary incentive to encourage, facilitate, and allow as many

   transactions        on   its   exchange        as   possible—even      transactions

   involving stolen cryptocurrency.

           56.      Binance has turned a blind eye to the wide variety of

   money and cryptocurrency laundering from around the globe it

   knowingly facilitates through its platform. For example:

            Lim’s instruction to allow a customer “very closely
            associated with illicit activity” to open a new
            account and continue trading on the platform is
            consistent with Zhao’s business strategy, which has
            counseled against off-boarding customers even if they
            presented regulatory risk. For example, in a September
            2020 chat Lim explained to Binance employees that they

            Don’t need to be so
            strict. Offboarding = bad
            in cz’s eyes49

           57.      Numerous public reports have identified Binance as

   perhaps       the    largest   vehicle         in   the   world     through     which

   cryptocurrency assets are laundered, including cryptocurrency

   stolen from U.S. citizens:

            Binance Holdings Ltd. is under investigation by the
            [United States] Justice Department and Internal
            Revenue Service, ensnaring the world’s biggest
            cryptocurrency exchange in U.S. efforts to root out
            illicit activity that’s thrived in the red-hot but
            mostly unregulated market.


  49   Id. ¶ 104.


                                             23
Case 2:24-cv-08521-BRM-CLW       Document 1      Filed 08/18/24   Page 25 of 53 PageID: 25



           The firm, like the industry it operates in, has
           succeeded largely outside the scope of government
           oversight. Binance is incorporated in the Cayman
           Islands and has an office in Singapore but says it
           lacks a single corporate headquarters. Chainalysis
           Inc., a blockchain forensics firm whose clients
           include U.S. federal agencies, concluded last year
           that among transactions that it examined, more funds
           tied to criminal activity flowed through Binance than
           any other crypto exchange.50

        58.    Despite being one of the world’s largest cryptocurrency

   exchanges, Binance’s KYC and AML protocols—during the relevant

   time period—were shockingly nonexistent or inadequate and did not

   measure    up    to   industry     standards.     Thieves      laundered    stolen

   cryptocurrency        through      Binance    because     Binance     failed    to

   implement security measures that would confirm its accountholders

   lawfully    possessed       the    cryptocurrency      deposited     in    Binance

   accounts,       including    the    ones     in   which    Plaintiff’s      stolen

   cryptocurrency was deposited.

        59.    During the relevant time period, and continuing to

   date,    Binance      has   facilitated      money   laundering     by    allowing

   deposits and withdrawals without any form of identification

   verification.

        60.    To launder stolen cryptocurrency, a person creates an

   account by accessing the Binance website. To trade or withdraw,

   the accountholder need not provide even the most basic identifying


  50Binance Faces Probe by U.S. Money-Laundering and Tax Sleuths,
  BLOOMBERG, May 13, 2021, https://www.bloomberg.com/news/articles/2021-05-
  13/binance-probed-by-u-s-as-money-laundering-tax- sleuths-bore-in.


                                           24
Case 2:24-cv-08521-BRM-CLW      Document 1    Filed 08/18/24   Page 26 of 53 PageID: 26



   information, such as name, date of birth, address, or other

   personal identifiers, or an attestation that the cryptocurrency

   initially or subsequently deposited is lawfully possessed. All

   Binance requires is a password and an email address.

          61.    Unlike legitimate virtual currency exchanges, Binance

   does    not    require    these    users   to   validate     their    identity

   information     by     providing   official     identification       documents,

   given that Binance does not require an identity at all. Accounts

   are therefore easily opened anonymously, including by users in

   the United States within New Jersey.

          62.    According to the CFTC Complaint:

          In February 2019, Lim chatted to Zhao: “a huge number”
          of Binance’s “TIER 1 [meaning customers trading via the
          two BTC-no KYC loophole] could be U.S. citizens in
          reality. They have to get smarter and VPN through non-
          U.S. IP.” And Zhao stated during a management meeting
          in June 2019 that the “under 2 BTC users is [sic] a
          very large portion of our volume, so we don’t want to
          lose that,” although he also understood that due to
          “very clear precedents,” Binance’s policy of allowing
          “those two BTCs without KYC, this is definitely not
          possible in the United States.”

          63.    Moreover, further obscuring the source of customer

   cryptocurrency, Reuters reported that Binance lacks internal

   controls to ensure that customer funds are identifiable and

   segregated      from     company   revenues,    and    therefore      regularly

   comingles customer assets with its own.51


  51Crypto giant Binance commingled customer funds and company revenue, former
  insiders say, CNBC, May 23, 2023, https://www.cnbc.com/2023/05/23/crypto-
  giant-binance-commingled-customer-funds-and-company-revenue-former-insiders-

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Case 2:24-cv-08521-BRM-CLW         Document 1     Filed 08/18/24   Page 27 of 53 PageID: 27



         64.   As    of    May    2022,     Binance    had   not    filed    a   single

   Suspicious Activity Report (“SAR”) in the United States, despite

   having filed them in other jurisdictions.

         65.   During the relevant time period, Binance’s practices

   encouraged       cryptocurrency         hackers     and    thieves       to    steal

   cryptocurrency         and    launder    it    at   Binance     by   breaking    the

   cryptocurrency into varying amounts, depositing it at Binance,

   converting the illegally- obtained asset, and withdrawing it from

   Binance — all without providing identification.

         66.   Defendants had actual knowledge that their KYC and AML

   policies were inadequate and knowingly kept them in place to

   drive revenue and profit. From the CFTC Complaint:

         In a January 2019 chat between Lim and a senior member
         of the compliance team discussing their plan to “clean
         up” the presence of U.S. customers on Binance, Lim
         explained: “Cz doesn’t wanna do us kyc on .com.” And
         Lim acknowledged in February 2020 that Binance had a
         financial incentive to avoid subjecting customers to
         meaningful KYC procedures, as Zhao believed that if
         Binance’s compliance controls were “too stringent”
         then “[n]o users will come.”52

         67.   In addition, in an October 2020 chat between Lim and a

   Binance colleague, Lim explained:

         [Because you attended a telephone conference on which
         CZ participated] then you will also know that as a
         company, we are probably not going to remove no kyc
         (email registration) because its too painful . . . i
         think cz understands that there is risk in doing so,
         but I believe this is something which concerns our
         firm and its survivability. If Binance forces

  say.html.
  52 CFTC Compl. ¶ 100.



                                             26
Case 2:24-cv-08521-BRM-CLW       Document 1       Filed 08/18/24    Page 28 of 53 PageID: 28



           mandatory   KYC,   then  [competing                digital        asset
           exchanges] will be VERY VERY happy.53

          68.     Internally, Binance officers, employees, and agents

   have     acknowledged       that     Binance       has    facilitated        illegal

   activities.       For    example,    in   February       2019,    after    receiving

   information      “regarding       HAMAS    transactions”         on   Binance,    Lim

   explained to a colleague that terrorists usually send “small

   sums”    as     “large    sums    constitute      money     laundering.”       Lim’s

   colleague replied: “can barely buy an AK47 with 600 bucks.”54 And

   referring to certain Binance customers, including customers from

   Russia, Lim acknowledged in a February 2020 chat: “Like come

   on.    They    are   here   for     crime.”     Binance’s        Money    Laundering

   Reporting Officer agreed that “we see the bad, but we close 2

   eyes.”55

          69.     Lim has displayed a nuanced understanding of applicable

   regulatory requirements and the potential individual liability

   that may accompany a failure to comply with U.S. law.                             For

   example, in October 2020 Lim chatted to a colleague:

          US users = CFTC = civil case can pay fine and settle
          no kyc = BSA act [sic] = criminal case have to go [to] jail56

          70.     CZ has at all times been aware of U.S. laws that apply

   to Binance’s activities. For example, CZ stated during a June 9,



  53 Id. ¶ 96.
  54 Id. ¶ 104.
  55Id.
  56 Id. ¶ 112.



                                             27
Case 2:24-cv-08521-BRM-CLW          Document 1     Filed 08/18/24   Page 29 of 53 PageID: 29



   2019 management meeting:

          [T]here are a bunch of laws in the U.S. that prevent
          Americans from having any kind of transaction with any
          terrorist, and then in order to achieve that, if you
          serve
          U.S. or U.S. sanctioned countries there are about 28
          sanctioned countries in the U.S. you would need to
          submit all relevant documents for review [but that is
          not] very suitable for our company structure to do so.
          So, we don’t want to do that and it is very simple if
          you don’t want to do that: you can’t have American users.
          Honestly it is not reasonable for the U.S. to do this.
          . . . .
          [U.S. regulators] can’t make a special case for us.
          We are already doing a lot of things that are
          obviously not in line with the United States.57

          71.     CZ    has   kept     information       reflecting       Binance.US’s

   customer base secret even from certain senior managers and has

   been    cautious      in   circulating      internal       materials   to   a   broad

   audience. In a March 2019 discussion regarding the circulation

   of data that categorized Binance users by geographic location,

   CZ said, “Let me see it first then, and not distribute it,

   especially guys who have to deal with U.S. regulators.”58                         And

   in an August 2020 chat, CZ instructed a Binance employee that

   transaction         volume data concerning          U.S.    [Application    Program

   Interface] customers should not be published to a group; rather,

   such data should be sent only to CZ.59

          72.     Binance     had    actual      knowledge     that   cryptocurrency



  57 Id. ¶ 113.
  58 Id. ¶ 114.
  59 Id.




                                              28
Case 2:24-cv-08521-BRM-CLW     Document 1        Filed 08/18/24   Page 30 of 53 PageID: 30



   stolen from Plaintiff had been transferred to addresses and

   accounts on Binance’s exchange.

         73.    Binance had/has the ability to freeze those accounts

   and   stop   transactions    on    its    exchange involving          the stolen

   cryptocurrency.

         74.    To the extent Plaintiff’s stolen assets are no longer

   at Binance, Binance failed to interrupt the money laundering

   process when it could have done so.

         75.    Binance’s intentional or knowing failings were all for

   the purpose of earning Binance transaction fees to the detriment

   of Plaintiff.

   Facts Specific to Mr. Gonzalez’s Claims.

         76.    On or about May 3, 2021, Mr. Gonzalez contacted Coinbase

   customer service to advise of a problem with his Account bearing

   digital      address      0x0E6eC53Eb9742b98a865571bd25e3c6daA4c8Dac

   (“Dac”).

         77.    Specifically, Mr. Gonzalez could not access his account

   to withdraw money.

         78.    Mr. Gonzalez was assigned a Coinbase Specialist who

   was investigating his account problem.

         79.    On or about May 8, 2021, Mr. Gonzalez was finally able

   to access his account, but was unable to trade because the

   Coinbase platform warned of a “lack of liquidity,” when the

   screen    showed   that   Mr.     Gonzalez      possessed      more   than   ample

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Case 2:24-cv-08521-BRM-CLW     Document 1        Filed 08/18/24    Page 31 of 53 PageID: 31



   liquidity to trade.

        80.    To Mr. Gonzalez’s astonishment, following Coinbase’s

   assignment of a specialist to address Mr. Gonzalez’s problem,

   Mr. Gonzalez’s Coinbase Account, bearing an account number ending

   in “Dac” (hereinafter referred to as "Account 1”) was hacked and

   approximately     41,881,332,772         units      of    Shiba       Inu    (SHIB),

   90,934,964,476,560.50           units        of    Hokkaidu        Inu       (HOKK),

   6,677,846,866,673.65         units           of     Kishu        Inu        (KISHU),

   1,985,208,578.34          units         of        Akita         Inu         (AKITA),

   1,382,788,310,243.34 units of FEG Token (FEG), 53,436.64 units

   of Hydro (HYDRO), 123.3706939 units of Paid Network, 578.2658609

   units of DigiCol Token, and other cryptocurrencies respectively,

   were improperly and unlawfully transferred out of Plaintiff’s

   account    to   the   Alleged    Hacker      Account     at    Binance      with   the

   following address: 0x95f0d3169e8734f300a91Bce591f543F246485Fa.

        81.    The   41,881,332,772         units      of    Shiba       Inu    (SHIB),

   90,934,964,476,560.50           units        of    Hokkaidu        Inu       (HOKK),

   6,677,846,866,673.65         units           of     Kishu        Inu        (KISHU),

   1,985,208,578.34          units         of        Akita         Inu         (AKITA),

   1,382,788,310,243.34 units of FEG Token (FEG), 53,436.64 units

   of Hydro (HYDRO), 123.3706939 units of Paid Network, 578.2658609

   units of DigiCol Token, and other cryptocurrencies, respectively,

   stolen from Plaintiff and within a few short, readily traceable

   steps—were deposited into Binance addresses.

                                           30
Case 2:24-cv-08521-BRM-CLW             Document 1    Filed 08/18/24   Page 32 of 53 PageID: 32



            82.     All     the   transfers     of     Plaintiff’s         cryptocurrency

   portfolio to Binance were within Binance’s 2 BTC limit under

   which      no     form    of    identification        was    required     to   deposit

   cryptocurrency.

            83.     The public nature of blockchain is why Plaintiff was

   able to determine, following a thorough investigation tracing

   the block chain, that a hacker had deposited his cryptocurrency

   with Defendants.60

            84.     For over one (1) year to date, Plaintiff has been

   making numerous demands that Defendants return his cryptocurrency

   to no avail.

            85.     Upon information and belief, between May 8, 2021 and

   the date of this filing, the total value of the cryptocurrencies

   portfolio stolen from Plaintiff fluctuated, but is believed to

   have      been    valued,      at   the   portfolio’s       high   at    approximately

   $30,000,000.00.

            86.     As a direct and proximate result of Binance’s policies

   and failures, Plaintiff suffered financial harm when his digital

   assets were stolen and laundered through Binance.

                                       CAUSES OF ACTION

                                   COUNT I (Conversion)

            87.     Plaintiff re-alleges, and adopts by reference herein,



  60
       See “Exhibit A.”

                                               31
Case 2:24-cv-08521-BRM-CLW    Document 1      Filed 08/18/24    Page 33 of 53 PageID: 33



   Paragraphs 1 through 82 above.

         88.   At the time of the theft on or about May 3, 2021,

   Plaintiff owned and had the right to immediately possess the

   41,881,332,772 units of Shiba Inu (SHIB), 90,934,964,476,560.50

   units of Hokkaidu Inu (HOKK), 6,677,846,866,673.65 units of Kishu

   Inu   (KISHU),   1,985,208,578.34         units    of   Akita     Inu    (AKITA),

   1,382,788,310,243.34 units of FEG Token (FEG), 53,436.64 units

   of Hydro (HYDRO), 123.3706939 units of Paid Network, 578.2658609

   units of DigiCol Token, and other cryptocurrencies, not just a

   mere right to payment for the value of that cryptocurrency.

         89.   At   all   relevant    times,     Defendants        had     actual    or

   constructive knowledge that cryptocurrency stolen from Plaintiff

   had been transferred to accounts on Binance’s exchange.

         90.   Notwithstanding the knowledge of the custody of stolen

   assets in a Binance account, Binance accepted the benefit of

   exchanging Plaintiff’s cryptocurrency for other cryptocurrency,

   thereby converting Plaintiff’s cryptocurrency.

         91.   Defendants ignored their own internal policies and

   procedures   and   knowingly      maintained      inadequate      KYC     and    AML

   policies which enabled cryptocurrency hackers and thieves to

   launder cryptocurrency through the Binance ecosystem without

   providing valid or sufficient personal identification and proof

   of lawful possession of the cryptocurrency.

         92.   Defendants    knew    Binance    KYC    and     AML   policies       and

                                        32
Case 2:24-cv-08521-BRM-CLW        Document 1   Filed 08/18/24    Page 34 of 53 PageID: 34



   procedures,       including    any   tracing    analysis       of   where    funds

   originated, were nonexistent or inadequate. Nevertheless, those

   inadequacies were ignored, and no effort was taken to utilize

   reasonable measures to remedy those dangerous shortcomings.

           93.   As a result of the knowingly inadequate KYC and AML

   policies, Defendants were able to retain possession of stolen

   cryptocurrency, collect significant transaction fees, and drive

   revenue and profits by furthering their image as promoters of

   anonymous and unregulated financial              transactions,         attracting

   fraudsters       and   other   transacting     parties       seeking    to   evade

   scrutiny.

           94.   The public nature of blockchain is why Plaintiff was

   able to determine, following a thorough investigation tracing

   the block chain, that a hacker had deposited his crypto currency

   with Defendants.61

           95.   For over one (1) year to date, Plaintiff has been

   making numerous demands that Defendants return his cryptocurrency

   to no avail.

           96.   Plaintiff is entitled to the value of their stolen

   cryptocurrency placed in Binance addresses and an amount of

   damages to be proven at trial, plus interest.




  61   See “Exhibit A.”

                                          33
Case 2:24-cv-08521-BRM-CLW   Document 1      Filed 08/18/24   Page 35 of 53 PageID: 35




                COUNT II (Aiding and Abetting Conversion)

         97.   Plaintiff re-alleges, and adopts by reference herein,

   Paragraphs 1 through 90 above.

         98.   At the time of the theft on or about May 3, 2021,

   Plaintiff owned and had the right to immediately possess the

   41,881,332,772 units of Shiba Inu (SHIB), 90,934,964,476,560.50

   units of Hokkaidu Inu (HOKK), 6,677,846,866,673.65 units of Kishu

   Inu   (KISHU),   1,985,208,578.34        units    of   Akita    Inu   (AKITA),

   1,382,788,310,243.34 units of FEG Token (FEG), 53,436.64 units

   of Hydro (HYDRO), 123.3706939 units of Paid Network, 578.2658609

   units of DigiCol Token, and other cryptocurrencies, not just a

   mere right to payment for the value of that cryptocurrency.

         99.   At all relevant times, Defendants had actual knowledge

   that cryptocurrency stolen from Plaintiff had been transferred

   to accounts on Binance’s exchange.

         100. Notwithstanding the actual knowledge of the custody of

   stolen assets in a Binance address, Binance did not halt the

   further movement of that stolen property, which allowed a thief

   to abscond with, and convert to their own benefit, Plaintiff’s

   property.   Instead,   Binance   enabled         thieves   to   complete   the

   conversion of cryptocurrency assets.

         101. Defendants rendered knowing and substantial assistance

   to cryptocurrency thieves in their commission of conversion

                                       34
Case 2:24-cv-08521-BRM-CLW   Document 1    Filed 08/18/24   Page 36 of 53 PageID: 36



   through which they obtained Plaintiff’s and cryptocurrency, such

   that they culpably participated in the conversion.

        102. Defendants ignored their own internal policies and

   procedures   and   knowingly   maintained      inadequate     KYC   and   AML

   policies which enable cryptocurrency hackers and thieves to

   launder cryptocurrency through the Binance ecosystem without

   providing valid or sufficient personal identification and proof

   of lawful possession of the cryptocurrency.

        103. Defendants knew that the Binance KYC and AML policies

   and procedures, including any tracing analysis of where funds

   originated, were nonexistent or inadequate. Nevertheless, they

   ignored   those    inadequacies   and   made    no   effort    to   utilize

   reasonable measures to remedy those dangerous shortcomings. This

   amounts to “driving the getaway car” for the cryptocurrency

   thieves with full awareness of the harm being committed.

        104. As a result of the knowingly inadequate KYC and AML

   policies, Defendants were able to collect significant transaction

   fees and drive revenue and profits by furthering their image as

   promoters of anonymous and unregulated financial transactions,

   attracting fraudsters and other transacting parties seeking to

   evade scrutiny.

        105. In effect, Defendants were consciously participating

   in the conversion of Plaintiff’s cryptocurrency to drive their

   revenue and profits, such that their assistance in the conversion

                                      35
Case 2:24-cv-08521-BRM-CLW   Document 1      Filed 08/18/24   Page 37 of 53 PageID: 37



   was pervasive, systemic, and culpable.

        106. Plaintiff is entitled to the value of their stolen

   cryptocurrency and an amount of damages to be proven at trial,

   plus interest.

                       COUNT III (Unjust Enrichment)

        107. Plaintiff re-alleges, and adopts by reference herein,

   Paragraphs 1 through 100 above.

        108. As a result of the stolen cryptocurrency laundered

   through   Binance   accounts,      Defendants     were     able   to    collect

   significant transaction fees, and drive revenue and profits by

   furthering their image as promoters of anonymous and unregulated

   financial    transactions,      attracting       fraudsters       and        other

   transacting parties seeking to evade scrutiny.

        109. Plaintiff conferred benefits upon Defendants in the

   form of the transaction fees for their cryptocurrency.

        110. It would be inequitable for Defendants to retain those

   benefits, including profits derived from those benefits.

        111. Defendants      should     reimburse       Plaintiff         for    the

   inequitable retention of the transaction fees, and disgorge their

   ill-gotten gains to be returned for Plaintiff.

                       COUNT IV (RICO ALLEGATIONS)

        112. Plaintiff re-alleges, and adopts by reference herein,

   Paragraphs 1 through 105 above.


                                        36
Case 2:24-cv-08521-BRM-CLW        Document 1     Filed 08/18/24       Page 38 of 53 PageID: 38



        113. Defendants          engaged   in    a    fraudulent       scheme,    common

   course of conduct and conspiracy to gain market share and generate

   revenues for Binance by enabling bad actors to launder stolen

   cryptocurrency through Binance.com.

        114. To achieve these goals, Defendants set up and managed

   the Binance Platform, including Binance.com and Binance.US, in a

   manner    that    willfully      violated         U.S.    laws     and     regulations

   requiring adequate KYC or AML policies so that bad actors and U.S.

   sanctioned       entities      could     create           accounts,        engage    in

   cryptocurrency       transactions,           and     deposit         and     withdraw

   cryptocurrency.      As   a    direct   result       of    their     conspiracy     and

   fraudulent scheme, Defendants generated massive amounts of fees

   and bad actors laundered cryptocurrency through the Binance

   Platform which was taken from Plaintiffs and the Class as a

   result of hacks, ransomware, and theft.

   The Binance Crypto-Wash Enterprise

        115. Binance was formed in 2017 and since that time has

   operated cryptocurrency trading platforms, including the platform

   located   at     Binance.com.      Defendant       CZ     was    Binance’s    primary

   founder, majority owner, and CEO and made the strategic decisions

   for Binance and exercised day-to-day control over its operations

   and finances. Additionally, in his pursuit of maximizing revenues

   and market share, CZ oversaw and directed Binance’s strategy of

   willfully disregarding KYC and AML laws and regulations so that

                                           37
Case 2:24-cv-08521-BRM-CLW      Document 1   Filed 08/18/24   Page 39 of 53 PageID: 39



   customers could use Binance.com anonymously, from the United

   States, and from sanctioned jurisdictions.

          116. Defendant BAM Trading is a Delaware corporation with a

   principal place of business in Miami, Florida. BAM Management is

   a Delaware corporation and the parent of BAM Trading and other

   affiliated entities.      When the Binance.US Platform launched in

   2019, BAM Management was wholly owned by BAM Management Company

   Limited, a Cayman Islands company, which in turn was wholly owned

   by CPZ Holdings Limited, a British Virgin Islands company that was

   owned and controlled by CZ.

          117. Zhao, along with a core senior management group, made

   the strategic decisions for Binance, BAM Trading, and the Binance

   Platform, and exercised day-to-day control over their operations

   and finances.

          118. Defendants Zhao and Binance, including the Binance.com

   platform, constituted an “enterprise” (the “Binance Crypto-Wash

   Enterprise”) within the meaning of 18 U.S.C. §1961(4) since the

   start of the Class Period, through which Defendants Binance and

   Zhao    (and   later   BAM     Trading)    conducted       the   pattern    of

   racketeering activity described herein.

          119. During 2019, in connection with and in furtherance of

   the Binance Crypto-Wash Enterprise, Binance and CZ expanded the

   Binance Crypto-Wash Enterprise to include Defendant BAM Trading,

   including the Binance.US platform. At all times relevant herein,

                                        38
Case 2:24-cv-08521-BRM-CLW      Document 1      Filed 08/18/24    Page 40 of 53 PageID: 40



   CZ owned 100 percent of CPZ Holdings Limited, which owned 100

   percent of BAM Management Company Limited, which in turn owned

   81 percent of BAM Management, which in turn owned 81 percent of

   BAM Trading, including Binance.US.              Alternatively, BAM Trading

   and the Binance.US platform were associated-in-fact with Binance

   and CZ for a number of common and ongoing purposes, including

   executing     and   perpetrating       the    scheme    alleged       herein,    and

   constituted an “enterprise” within the meaning of 18 U.S.C.

   §1961(4), the activities of which affected interstate commerce,

   because it involved commercial and financial activities across

   state lines, including through the operation of websites over

   the Internet and the transmission of cryptocurrency.

        120. Therefore, the Binance Crypto-Wash Enterprise operated

   the Binance.com platform beginning in 2017 and operated both the

   Binance.com     and       Binance.US     platforms      beginning           in   2019

   (collectively, the “Binance Platform”).                Zhao has directly or

   indirectly owned the various entities that collectively operate

   the Binance Platform. The Binance Crypto-Wash Enterprise engaged

   in, and its activities affected, interstate commerce, including

   through the operation of websites over the Internet and through

   the transmission of cryptocurrency.

        121. Zhao      has    directly    or    indirectly       owned   the    various

   entities that collectively operate the Binance Platform. Zhao,

   along with a core senior management group, made the strategic

                                           39
Case 2:24-cv-08521-BRM-CLW    Document 1       Filed 08/18/24   Page 41 of 53 PageID: 41



   decisions for Binance, BAM Trading and the Binance Platforms and

   exercised day-to-day control over their operations and finances.

         122. Defendant Zhao exercised substantial control over the

   affairs of the Binance Crypto- Wash Enterprise, through, among

   other methods and means, the following:

              a.      Providing     the   initial     operating      capital    and

   holding most of the shares of Binance and holding approximately

   81 percent of the shares of BAM Trading;

              b.      Devising the strategy to maximize revenues and

   gain market share by violating the BSA by willfully causing

   Binance.com to fail to implement and maintain the necessary KYC

   requirements or an effective AML program;

              c.      Communicating to Binance’s employees his overall

   strategy of maximizing revenues and gaining market share by not

   requiring the collection of the necessary KYC information and

   thereby willfully violating KYC and AML laws;

              d.      Deciding to create BAM Trading and orchestrating

   the scheme to use Binance.US as a distraction for U.S. regulators

   so that Binance.com could continue serving U.S. customers and

   customers from sanctioned jurisdictions; and

              e.      Managing the day-to-day affairs of Binance.com

   and   Binance.US    with   the   purpose     of   ensuring     Binance’s    most

   valuable customers could continue using the Binance.com platform.

         123. Defendants Binance, BAM Trading and Zhao exercised

                                          40
Case 2:24-cv-08521-BRM-CLW       Document 1     Filed 08/18/24    Page 42 of 53 PageID: 42



   control over and directed the affairs of the Binance Crypto-Wash

   Enterprise through, among other things, using Binance’s and BAM

   Trading’s core senior management group to direct critical aspects

   of the Binance Crypto-Wash Enterprise operations, including the

   following:

                 a.    Binance and BAM Trading failed to comply with KYC

   and AML laws and regulations and senior management instructed

   other Binance employees to avoid complying with                       those laws,

   communicated Defendant Zhao’s strategy of willfully avoiding the

   laws,   and    provided     suggestions      to   employees         about   what    to

   communicate to customers to ensure they could continue to use

   Binance.com,       even   though   it   violated     KYC      and    AML    laws   and

   regulations.

                 b.    Zhao encouraged users to conceal and obfuscate

   their U.S. connections, including by creating new accounts and

   submitting non-U.S. KYC information in connection with those

   accounts.      Senior Binance leaders discussed this strategy on

   internet-based calls in or around June 2019.

                 c.    Zhao helped launch the new U.S. exchange, including

   registering it as an MSB with FinCEN and obtaining state money

   transmitting licenses.

        124. The       Binance    Crypto-Wash        Enterprise        constituted      a

   single “enterprise” or multiple enterprises within the meaning of

   18 U.S.C. §1961(4), as individuals and other entities associated-

                                           41
Case 2:24-cv-08521-BRM-CLW    Document 1   Filed 08/18/24   Page 43 of 53 PageID: 43



   in- fact for the common purpose of engaging in Defendants’

   profit-making scheme.

        125. The Binance Crypto-Wash Enterprise was an ongoing and

   continuing organization consisting of legal entities, such as a

   corporation and limited liability company, as well as individuals

   associated for the common or shared purpose of ensuring that

   Binance did not implement adequate KYC or AML policies so that

   Binance.com could generate massive fees and liquidity from the

   maximum number of people and increase market share, in violation

   of the law.

        126. The    Binance    Crypto-Wash     Enterprise      functions     by

   generating fees from cryptocurrency transactions by customers.

   Many customers were not bad actors and used the Binance Platform

   for legitimate purposes. However, Defendants, through the Binance

   Crypto-Wash Enterprise, have engaged in a pattern of racketeering

   activity which also enabled bad actors to use the Binance Platform

   to launder stolen cryptocurrency so that it could not be tracked

   or recovered.

        127. The   Binance    Crypto-Wash    Enterprise      engages   in   and

   affects interstate commerce because it involves commercial and

   financial activities across state boundaries, such as through the

   operation of the Binance.com and Binance.US platforms over the

   Internet and through the transmission of cryptocurrency into and

   out of Binance.com, and over Binance.com’s exchange.

                                      42
Case 2:24-cv-08521-BRM-CLW     Document 1      Filed 08/18/24   Page 44 of 53 PageID: 44



        128. At all relevant times herein, each participant in the

   Binance Crypto-Wash Enterprise was aware of the scheme.

        129. Defendants were each knowing and willing participants

   in the scheme and reaped revenues and/or profits therefrom.

        130. The      Binance      Crypto-Wash          Enterprise       has     an

   ascertainable structure separate and apart from the pattern of

   racketeering activity in which Defendants engaged. The Binance

   Crypto- Wash Enterprise is separate and distinct from each of

   the Defendants.

   RICO Conspiracy

        131. Defendants have not undertaken the practices described

   herein in isolation, but as part of a common scheme and conspiracy.

        132. Defendants have engaged in a conspiracy to maximize

   revenues and/or market share for Defendants and their unnamed co-

   conspirators through the scheme alleged herein.

        133. The objectives of the conspiracy are: (a) to execute

   the scheme; (b) to enable customers to use Biance.com without

   Binance.com requiring KYC or implementing AML policies, including

   U.S.-based users and users from sanctioned jurisdictions; and (c)

   to gain market share and maximize fees and liquidity.

        134. To      achieve     these        goals,    Defendants       willfully

   disregarded U.S. laws and regulations and encouraged bad actors

   to launder crypto at Binance.com.             Defendants have also agreed

   to participate in other illicit and fraudulent practices, all in

                                         43
Case 2:24-cv-08521-BRM-CLW       Document 1       Filed 08/18/24    Page 45 of 53 PageID: 45



   exchange for agreement to, and participation in, the conspiracy.

          135. Each Defendant and member of the conspiracy, with

   knowledge and intent, has agreed to the overall objectives of the

   conspiracy and participated in the common course of conduct to

   enable U.S.-based users and sanctioned users to launder crypto

   at Binance.com.

          136. As   a    result     of    Defendants’           illegal     scheme    and

   conspiracy, Plaintiffs had crypto taken from him as a result of

   hacks, ransomware, or theft and laundered at Binance.com. But

   for Defendants’ scheme, Plaintiff would not have had their crypto

   stolen and then laundered at Binance.com so that the crypto was

   no longer traceable on the blockchain.                 Therefore, the damages

   that Defendants caused Plaintiff may be measured, at a minimum,

   by the maximum dollar value of the cryptocurrency since May 8, 2021

   taken from Plaintiff as the result of illegal conduct, such as

   hacks,     ransomware    or     theft,        which    was      laundered      through

   Binance.com.

   Pattern of Racketeering Activity

          137. Defendants, each of whom is a person associated-in-

   fact    with   the    Binance    Crypto-       Wash    Enterprise,        knowingly,

   willfully, and unlawfully conducted or participated, directly or

   indirectly, in the affairs of the enterprise through a pattern

   of     racketeering    activity       within     the    meaning     of    18    U.S.C.

   §§1961(1), 1961(5) and 1962(c). The racketeering activity was made

                                            44
Case 2:24-cv-08521-BRM-CLW      Document 1       Filed 08/18/24      Page 46 of 53 PageID: 46



   possible    by    Defendants’       regular     and       repeated         use    of    the

   facilities, services, distribution channels, and employees of

   the Binance Crypto-Wash Enterprise.

        138. Defendants         each    committed           multiple      “Racketeering

   Acts,” as described below, including aiding and abetting such

   acts.

           139. The Racketeering Acts were not isolated, but rather

   were related in that they had the same or similar purposes and

   results,    participants,      victims,       and     methods         of    commission.

   Further, the Racketeering Acts were continuous, occurring on a

   regular,    and   often   daily,     basis     beginning         in    May       2021   and

   depending upon the act, continuing until today, and the harm of

   those Racketeering Acts continue to today.

           140. Defendants      participated           in     the        operation         and

   management of the Binance Crypto- Wash Enterprise by directing

   its affairs, as described above.

           141. In   devising    and     executing          the   scheme        to    enable

   Binance.com to be used by U.S.- based customers and sanctioned

   users, including bad actors laundering cryptocurrency, Defendants

   inter alia, (i) committed, and aided and abetted, acts constituting

   indictable offenses under 18 U.S.C. §1960 (relating to illegal money

   transmitters) and 18 U.S.C. §1961(1)(E) (act indictable under the

   Currency and Foreign Transactions Reporting Act aka the Bank Secrecy

   Act (BSA), and (ii) aided and abetted acts constituting indictable


                                          45
Case 2:24-cv-08521-BRM-CLW         Document 1         Filed 08/18/24       Page 47 of 53 PageID: 47



   offenses under 18 U.S.C. §§1956 (laundering of monetary instruments),

   1957 (engaging in monetary transactions in property derived from

   specified     unlawful      activity),   and           2314   (relating      to    interstate

   transportation of stolen property). For the purpose of executing the

   scheme   to   maximize      revenues   and        market      share   for   Binance.com    in

   violation of KYC and AML rules and regulations, Defendants committed

   these Racketeering Acts, which number in the millions, intentionally,

   and knowingly with, the specific intent to advance the illegal scheme.

        142. Defendants          committed,           and     aided      and   abetted,    acts

   constituting indictable offences under 18 U.S.C. §1960 (relating

   to illegal money transmitters) and the BSA as follows:

                 a.   Defendants      understood             that     because        Binance.com

   served a substantial number of U.S. users, it was required to

   register with FinCEN as an MSB and therefore required under the

   BSA to implement an effective AML program. In fact, Defendants

   willfully violated the BSA by enabling and causing Binance.com

   to have an ineffective AML program, including a failure to

   collect or verify KYC information from a large share of its

   users.

                 b.      Defendants Binance and CZ, aided and abetted by

   Defendant BAM, conducted, and conspired to conduct, Binance as an

   unlicensed      MTB    in     violation           of     18    U.S.C.       §§1960(a)     and

   1960(b)(1)(B), and failed to maintain an effective AML program,

   in violation of the BSA, including, 31 U.S.C. §§5318(h), 5322.

                 c.      Binance was required to develop, implement, and

                                                46
Case 2:24-cv-08521-BRM-CLW       Document 1       Filed 08/18/24   Page 48 of 53 PageID: 48



   maintain an effective AML program that was reasonably designed to

   prevent     Binance.com       from   being         used   to    facilitate    money

   laundering    and      the   financing        of    terrorist    activities,    and

   Defendants Binance and CZ willfully failed to do so in violation

   of 31 U.S.C. §5318(h)(1) and 31 C.F.R. §1022.210. Additionally,

   Binance was required to accurately, and timely, report suspicious

   transactions to FinCEN, and Defendants Binance and CZ willfully

   failed to do so in violation of 31 U.S.C. §5318(g) and 31

   C.F.R.§1022.320.

               d.      Defendants CZ and BAM Trading aided and abetted

   the conducting of Binance as an unlicensed MTB in violation of 18

   U.S.C. §§1960(a) and 1960(b)(1)(B); and 2, as CZ admitted in his

   prior plea agreement with the DOJ, and in that Binance.US was

   used to distract U.S. regulators from focusing on Binance’s

   violations of the law which enabled Binance.com to act as an

   unlicensed MTB without adequate KYC or AML policies and serve

   U.S.-based       bad     actors      and       customers        from    sanctioned

   jurisdictions. As alleged above, Defendants Binance, CZ, and BAM

   Trading created Binance.US as a distraction to regulators to

   enable    Binance      to    continue      doing     business    with   U.S.-based

   customers    and    customers     located      in    sanctioned    jurisdictions,

   including     bad      actors     who      used      Binance.com       to    launder

   cryptocurrency taken from Plaintiffs and the Class a result of

   hacks, ransomware or theft.

                                            47
Case 2:24-cv-08521-BRM-CLW       Document 1     Filed 08/18/24         Page 49 of 53 PageID: 49



               e.     These Racketeering Acts were not isolated, but

   rather were related in that they had the same or similar purposes

   and results, participants, victims, and methods of commission.

               f.     As a result of Binance’s and CZ’s failure to

   implement adequate controls requiring KYC and AML policies and

   blocking illegal transactions with sanctioned users and bad

   actors, Defendants Binance and CZ willfully enabled bad actors

   to launder cryptocurrency at Binance.com.

          143. Additionally,       Defendants       aided         and     abetted      acts

   constituting       indictable       offenses     under         18     U.S.C.     §§1956

   (laundering of monetary instruments), 1957 (engaging in monetary

   transactions      in   property       derived    from          specified       unlawful

   activity), and 2314 (relating to interstate transportation of

   stolen property) as follows:

               a.     Defendants’ scheme of maximizing revenues from all

   customers,       including    bad     actors     and       users      in    sanctioned

   jurisdictions, by failing to implement KYC and AML procedures for

   Binance.com,      turned     Binance.com     into      a   hub       and   magnet   for

   criminals and other bad actors to launder cryptocurrency. The

   operation of Binance.com as a means to launder crypto aided and

   abetted the laundering of the crypto by bad actors.

               b.     Since      approximately       July         2017,       Binance.com

   processed millions of dollars in transactions by bad actors who

   took   cryptocurrency        from    Plaintiff      as     a    result      of   hacks,

                                           48
Case 2:24-cv-08521-BRM-CLW         Document 1        Filed 08/18/24   Page 50 of 53 PageID: 50



   ransomware, or theft and utilized Binance.com to launder the

   crypto and/or to transfer the crypto through their Binance.com

   accounts and out of Binance.com in violation of 18 U.S.C. §1956

   (laundering      of     monetary      instruments)         and     18    U.S.C.      §1957

   (engaging in monetary transactions in property derived from

   specified     unlawful      activity).            Additionally,         the    illegally

   obtained     cryptocurrency           was        transported,      transmitted,         or

   transferred      in    interstate      or        foreign    commerce      to    or   from

   Binance.com      in    violation      of     18     U.S.C.    §2314      (relating     to

   interstate       transportation        of        stolen    property).         Defendants

   Binance and CZ aided and abetted those actions constituting

   indictable offenses.

               c.        These Racketeering Acts were not isolated, but

   rather were related in that they had the same or similar purposes

   and results, participants, victims, and methods of commission.

               d.        Furthermore,     even       though     Binance     and    CZ    have

   entered into a settlement with the DOJ and agreed to implement

   KYC and AML procedures, to this day bad actors continue to attempt

   to   use   Binance.com      as    a   means        to   launder    crypto      and    have

   transferred stolen cryptocurrency to Binance.com as late as March

   2024, if not later.

        144. Defendants and third parties have exclusive custody or

  control over the records reflecting the precise dates, amounts,

  locations     and      details    of    the       millions     of    transactions       at

                                               49
Case 2:24-cv-08521-BRM-CLW     Document 1        Filed 08/18/24     Page 51 of 53 PageID: 51



  Binance.com in violation of the Racketeering Acts in violation of

  18 U.S.C. §1960 (relating to illegal money transmitters), 18 U.S.C.

  §1961(1)(E)     (act    indictable      under     the    Currency         and    Foreign

  Transactions Reporting Act aka the Bank Secrecy Act (“BSA”), 18

  U.S.C. §§1956 (laundering of monetary instruments), 1957 (engaging

  in   monetary      transactions    in    property       derived      from       specified

  unlawful      activity),     and        2314     (relating           to     interstate

  transportation of stolen property).

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all

   others similarly situated, respectfully prays for relief as

   follows:

         (a) Declaring that Defendants’ actions, as set forth above,

             converted    Plaintiff       cryptocurrency,         or    alternatively,

             aided and abetted conversion of that cryptocurrency,

             where they knowingly failed to follow KYC or AML policies;

         (b) Declaring that Defendants were unjustly enriched by

             their    collection    of    transaction       fees       on   Plaintiff’s

             stolen cryptocurrency;

         (c) Awarding Plaintiff actual and compensatory damages as

             allowed by applicable law;

         (d) Awarding      Plaintiff      restitution       and     disgorgement        of

             Defendants’ ill-gotten gains;

         (e) Awarding pre-judgment and post-judgment interest;

                                           50
Case 2:24-cv-08521-BRM-CLW   Document 1    Filed 08/18/24   Page 52 of 53 PageID: 52




        (f) Granting temporary restraints and a preliminary injunction

           to     enjoin     Defendants’       fraudulent        scheme      and

           freezing/preserving Plaintiff’s assets; and

        (g) Granting such other and further relief as this Court may

           deem just and proper.


                             DEMAND FOR JURY TRIAL

        Plaintiff hereby demand a trial by jury, pursuant to Fed.

   R. Civ. P. 38(b), on all issues so triable.

   Dated: August 16, 2024
                                   Respectfully submitted,


                                   _/s/ Robert A. Tandy

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                                     51
Case 2:24-cv-08521-BRM-CLW           Document 1       Filed 08/18/24     Page 53 of 53 PageID: 53




                                        VERIFICATION
    STATE OF NEW JERSEY )

                                             ) SS:

    COUNTY OF MORRIS)

            I, Mr. David Gonzalez, the Undersigned, being duly sworn, depose and say that
    the above allegations in the Verified Complaint are true to my own knowledge, except
    as to the matters therein stated to be alleged on information and belief, and as to those
    matters, I believe them to be true.



    Sworn to before me, this                                 Mr. David Gonzalez
    16th Day of August, 2024


     ____________________
       Eric J. Warner, Esq.
        Attorney-At-Law
       State of New Jersey
      Bar No.: 03651-2006
